Case 7:20-cv-00587-RSB Document 65 Filed 12/03/21 Page 1 of 5 Pageid#: 1782




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Roanoke Division

BAE SYSTEMS ORDNANCE         )
SYSTEMS, INC.                )
                             )
Plaintiff,                   )
                             )                               Civil Action No. 7:20-CV-00587-MFU-RSB
v.                           )
                             )
FLUOR FEDERAL SOLUTIONS, LLC )
                             )
Defendant.                   )
                             )
                             )

              FLUOR’S MOTION TO COMPEL BAE’S DISCOVERY RESPONSES
                           AND FOR ATTORNEYS’ FEES

         Defendant Fluor Federal Solutions, LLC (“Fluor”) hereby moves this Honorable Court to

Compel Plaintiff BAE Systems Ordnance Systems, Inc. (“BAE”) to respond to Fluor’s properly

propounded discovery requests. Fluor also moves this Court for the attorneys’ fees and costs incurred

by Fluor to prepare and argue this Motion to Compel, as authorized by Federal Rule of Civil Procedure

37(a)(5). 1

         Fluor served BAE with its First Set of Interrogatories and First Set of Requests for Production

of Documents on October 15, 2021. BAE’s responses were due November 15, 2021. BAE remained

silent for 26 days and then informed Fluor that it intended to stay discovery in this case. BAE then

refused to respond to any of Fluor’s requests on the basis of a yet-to-be-filed motion to stay discovery.

Thus, without a Court order, BAE unilaterally imposed its own stay of discovery. Such conduct is

prohibited by the Federal Rules of Civil Procedure.



1
  As directed by the Court, Fluor’s Motion to Compel addresses only BAE’s objection to Fluor’s discovery requests
on the basis of its yet-to-be-filed Motion to Stay. Fluor reserves the right to address BAE’s objections and responses
to its written discovery in a further Motion to Compel, if necessary.
Case 7:20-cv-00587-RSB Document 65 Filed 12/03/21 Page 2 of 5 Pageid#: 1783




        Fluor’s discovery requests are reasonable, relevant to the Parties’ claims and defenses, and

proportional to the needs of this litigation. BAE must respond to Fluor’s proper discovery requests

unless and until a Court orders otherwise.

        For these reasons, and the reasons set forth in Fluor’s Brief in Support of its Motion to

Compel, Fluor respectfully requests that this Honorable Court grant this Motion to Compel and order

BAE to respond to Fluor’s discovery requests. Should the Court grant Fluor’s Motion to Compel,

Fed. R. Civ. P. 37(a)(5) authorizes this Court to award Fluor its reasonable attorneys’ fees, unless the

Court finds BAE’s actions to be substantially justified.

        No justification exists for BAE’s untimely and unsupported decision to usurp the authority

reserved to this Court to determine whether and when discovery may be stayed. Therefore, Fluor

requests that this Honorable Court award Fluor the reasonable attorneys’ fees and expenses incurred

to prepare and argue this Motion to Compel.

        Fluor respectfully requests that this Court order BAE to respond to Fluor’s discovery requests

by December 20, 2021, or within five (5) business days of issuance of the decision on this Motion,

whichever is earlier. Fluor understands that oral argument on this Motion will take place at a hearing

before Judge Ballou on December 15, 2021, at 4:00 pm EST.



Dated: December 3, 2021

                                                Respectfully submitted,


                                                     s/Scott P. Fitzsimmons
                                                Scott P. Fitzsimmons (VSB 68147)
                                                Kathleen O. Barnes (VSB 30451)
                                                Edward J. Parrott (VSB 29499)
                                                Sarah K. Bloom (VSB 94406)
                                                Gregory M. Wagner (VSB 96017)
                                                WATT, TIEDER, HOFFAR
                                                & FITZGERALD, LLP
                                                1765 Greensboro Station Place, Suite 1000

                                                   2
Case 7:20-cv-00587-RSB Document 65 Filed 12/03/21 Page 3 of 5 Pageid#: 1784




                                  McLean, Virginia 22102
                                  Tel: (703) 749-1000
                                  Fax: (703) 893-8029
                                  sfitzsimmons@watttieder.com
                                  kbarnes@watttieder.com
                                  eparrott@watttieder.com
                                  sbloom@watttieder.com
                                  gwagner@watttieder.com

                                  Attorneys for Fluor Federal Solutions, LLC




                                     3
Case 7:20-cv-00587-RSB Document 65 Filed 12/03/21 Page 4 of 5 Pageid#: 1785




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of December 2021, a copy of the foregoing was

delivered via the CM/ECF system to the following:

              Todd M. Conley (VSB 89839)
              Jeffrey J. Golimowski (VSB 93525)
              WOMBLE BOND DICKINSON (US) LLP
              8350 Broad Street, Suite 1500
              Tysons, Virginia 22102
              Tel: (703) 394-2275
              Fax: (703) 790-2623
              todd.conley@wbd-us.com
              jeff.golimowski@wbd-us.com

              D. Stan Barnhill (VSB 22978)
              Joshua R. Treece (VSB 79149)
              Justin E. Simmons (VSB 77319)
              WOODS ROGERS PLC
              10 South Jefferson Street, Suite 1400
              Roanoke, Virginia 24011
              Tel: (540) 983-7600
              Fax: (540) 983-7711
              barnhill@woodsrogers.com
              jtreece@woodsrogers.com
              jsimmons@woodsrogers.com

              Karen M. Stemland (VSB 47167)
              WOODS ROGERS PLC
              123 East Main Street, 5th Floor
              Charlottesville, Virginia 22902
              Tel: (434) 220-6826
              Fax: (434) 566-0473
              kstemland@woodsrogers.com

              Attorneys for BAE Systems Ordnance Systems, Inc.


                                              Respectfully submitted,

                                              s/ Scott P. Fitzsimmons
                                              Scott P. Fitzsimmons (VSB 68147)
                                              WATT, TIEDER, HOFFAR
                                              & FITZGERALD, LLP
                                              1765 Greensboro Station Place, Suite 1000
                                              McLean, Virginia 22102
                                              Tel: (703) 749-1000

                                                  4
Case 7:20-cv-00587-RSB Document 65 Filed 12/03/21 Page 5 of 5 Pageid#: 1786




                                  Fax: (703) 893-8029
                                  sfitzsimmons@watttieder.com

                                  Attorneys for Fluor Federal Solutions, LLC




                                     5
